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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE[]§, JUN _.3 pM {2; [+3
WESTERN DIVISION

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OUTDOOR OPTICS, INC., d/b/a
OLYMPIC OPTICAL COMPANY,

Plaintiff, Case No. 05-2] 85 D
vs.
DAISY MANUFACTURING COMPANY, INC.,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

This matter is before the court upon motion ofPlaintiff, pursuant to Rule 83.1(13), requesting
that Attomey Minaksi Bhatt be admitted pro hac vice for the purpose of appearing as counsel for
Plaintit`f in this case.

For the reasons stated in the motion, Minaksi Bhatt, is admitted in this court pro hac vice.

IT IS HEREBY ORDERED, that Plaintiff’ s motion for admission pro hac vice is
GRANTED.

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B RNICE B.D ALD
NITED STATES DISTRICT JUDGE

   

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This notice confirms a copy of the document docketed as number 14 in
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Honorable Bernice Donald
US DISTRICT COURT

